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                                                                                     United States District Court
                                                                                       Southern District of Texas

                                                                                          ENTERED
                           IN THE UNITED STATES DISTRICT COURT                           March 05, 2024
                                                                                       Nathan Ochsner, Clerk
                           FOR THE SOUTHERN DISTRICT OF TEXAS

                                     HOUSTON DIVISION

U.S. Bank National Association, et al.            §
                                                  §
                Plaintiffs,                       §
                                                  §
V.                                                §        Civil Action No. H-19-2402
                                                  §
Josef M. Lamell, et al.,                          §
                                                  §
                Defendants.                       §

                                            ORDER

        On February 2, 2024, Magistrate Judge Andrew Edison conducted a Settlement conference

with the parties in this case. Judge Edison has now informed this Court that the case did not settle.

        The Order referring this case to United States Magistrate Judge Andrew Edison (docket no.

150) entered on November 28, 2023, is VACATED.

       SIGNED at Houston, Texas, on this 5th day of March, 2024.




                                                             SIM LAKE
                                               SENIOR UNITED STATES DISTRICT JUDGE
